EXHIBIT A .

MERRILL LYNCH FINANCIAL ADVISOR
CAPITAL ACCUMULATION AWARD PLAN

As amended through January 7, 2009

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MERRILL LYNCH FINANCIAL ADVISOR
"CAPITAL ACCUMULATION AWARD PLAN —

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MERRILL LYNCH FINANCIAL ADVISOR
CAPITAL ACCUMULATION AWARD PLAN

The Merrill Lynch Financial Advisor Capital Accumulation Award Pian
reflects: MLPF&S's commitment te reward top: producing Private Client
Employees. The purpose of the Award is to vstablish and retain a sirong sales
force and professional managers by recognizing the benefits of their
contributions to MLPF&S. .

The terms and conditions of the Menill Lynch Financial Advisor Capital -
Accumulation-Award Plan are as follows: ~ ,
_L. DEFINITIONS
4. Definitions.

; _ "Account" means a notional book reserve established in the name of an
eligible employee by MLPF&S, to which the Award or Awards granted to such
efigible employee will be credited. -

“Account Balance" as of a particular date means the vested and unvested
value of the Awards, including any accrued Appreciation, reflected in the Account
as of that date. .

"Affifiate” means any corporation, partnership, or other organization of
which ML & Co. owns or controls, directly or indirectly, not fess than 50 percent

of the total combined voting power of all classes of stock or other equity interest.

| "Appreciation" means the amounts accrued on the Awards under
- Section 3. -

“Awards” means the amounts awarded pursuant to Section 3 of the Plan.

“Award Date” means a date, established by the Committee with respect to
each Award, as of which such Award will be credited to the Account.

“Award Year” means the calendar year in which an Award Date falls.

"Commitee" means the Management Development and Compensation’
Committee of the Board of Directors of ML & Co. or the appropriate committee of
the successor by merger of ML & Co. : . -

"Common Stock" means Merili Lynch & Co., Inc. Common Stock, par
-Yalue $1.33 1/3 per share. .

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"Common Steck Amount” means the number derived by dividing the
amount of an Award by the Fair Market Vatue of Coramon Stock as of the last
day of the Performance Period, or such other date or period as may be
established by the Committee, rounded fo the nearest whole number. - Such
number represents the fofal number of shares of Common Stock you may
receive on the Payment Date. : .

"Company* means ME & Co. and all of its Afifiates.

Disability’ You will be deemed to have incurred a “Disability” if you are
entitled fo receive benefits under the Merrill Lynch & Go., Inc. Long-Term
Disability Plan.

; "Fair Market Value" of Comrnon Steck on any given dafe(s) shall be: (a)
the mean of the high and low sales prices on fhe New York Stock Exchange
Compose Tape on the date(s) in question, or, if the Common Sfock shall nef
-have been traded on any such date(s}, the mean of the high and low sales prices
on the New York Stock Exchange Composite Tape on the first day prior thereto _
on which the Common Stock was traded; provided, however, if the Distibution ~
Date (as defined in the Rights Agreement} shall have occurred and the Rights
shall then be represented by separate certificates rather than by certificates
representing the Common Stock, there shall be added to such value cajculated
in accordance with (a} above, the mean of the high and low sales prices of ihe
Rights on the New York Stock Exchange Composite Tape on the date(s) in -
question, or if the Rights shall not have been traded on any such date(s), the
mean of the high and low sales prices on the New York Stock Exchange
Composite Tape on the first day prior thereto-on which the Rights were so
traded: or (b} such other amount as may be determined by the Committee by any
fair and reasonable means. Coe,

 

"Ciscal Year" means the annual period used by ML & Co. for financtal
accounting purposes.

“Junior Preferred Stock” means ML & Co.'s Series A Junior Preferred oe .
* Stock, par value $1.00 per share.
' “Key Employee” means any employee who has been designated by ML &

Co. as one of the 50 highest paid employees (based on W-2 income) as of the
most recently completed fiscal year. - :

"Minimuni Value" means the dollar amount obtained by applying a per -
annum rate of 1%, compounded annually, fa the amount of an Award, from and
including the last day of the Performance Period, or such other date as may be
established by the Commities, to and including the Payment Date.

“iL & Co." means Merrill Lynch & Co., Inc. |

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"MLPF&S" means Mernill Lynch, Pierce, Fenner & Smith Incorporated, a
subsidiary of ML & Ca.

. "Payment Calculation Date" means, with respect to an Award, the first day

_ of the month in which an Award first becomes payable under Section 6 or 3.

"Payment Date” means, with tespect fo any amount payable under the

Pian, the date on which such emount first becomes payable.

“Plan means. this Merrill Lynch Financia! Advisor Capital Accumulation
Award Plan.

"Performance Period” means the period, generally a fiscal year of ML &
Ca., during which you generate the production/revenue or achieve the goals that
are the basis of an Award. .

“Private Client Employee" means a Financial Advisor (incliding a resident
manager or producing manager), life market estate planning and business
insurance specialist (EPBIS), broad market EPBIS, insurance plarining specialist
or mortgage and credit specialist, cr any other employee group that the
Committee, In its sole discretion, determines are private client employees for
purposes of eligibility for awards under the Pian, as evidenced in the appiicable
Committee resolutions or instrument of grant.

"Retrement" Subject to Sections 8(c) and 9{b), you will be deemed fo be
- eligible for "Retirement" if your employment with the Company terminates other
than for cause or misconduct (i) on or after you have attained your 65th birthday
or (iy) when you cease employment on or after your 55th bicthday and you have
completed at least 10 years of service, including approved leaves of absence of
one year or less..

“Rights” means the Rights fo Purchase Units cf Series A Junior Preferred
Stock issued pursuant to the Rights Agreement.

. | Rights Agreement" means the Rights Agreement dated as of December
-15, 1987 between ML & Co. and Manufacturers Hanover Trust Company, Righis
Agent ; ;

"Rule of 64° Subject to Section 8(c} and 9{h), you will be deemed to be

eligible for the Rule of 66 contained in Section O(b}iv) ef FACAAP ify our.

employment with the Company terminates {other than for cause or misconduct):

(A) {i} on or after you have cornpleted at least 20 years of sefvice with the |

Company, incliding approved leaves of absence cf one year or less, and (if)
your combined length of service with the Company and your age equals at least
_ 65; -or {B) af any age with the express appreval of the Committee, in its sole
’ discretion, upon a recommendation by the management of MLPF&S, in its sole

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discretion. (Participants should be aware that such recommendations will be
considered only in exceptional cases) and (C) you are not eligible for
“Retirement” under the Plan, ;

"You" means the individual participant in this Plan.
il, ELIGIBILITY
2. Eligible Employees.

You are eligible for an Award if (i) you were, during the Performance

Period, a Private Chent Employee tregardless of whether you continue to be a

Private Client Employee at the time of grant), (li) you meet the applicable Award

criteria determined pursuarit to Section 3 (a) and (iii) as of the date of grant, your

employment with the Company has not terminated for any reason other than
death or Retirement. .

{f. THE AWARDS; APPRECIATION
3. The Awards.

{a) Criteria for Awards. The criteria for Awards will be established
periodically by the Committee, upon the recommendaiion cf the management of
the Company. The criteria for Awards may vary from Performance Period to
Performance Period and according to type of performance, and may be
announced prior to, during, or following the applicable Performance Period. An
‘Award will generally'be stated as an amount equal to a percentage of
achievement against established goals during a Perfarmance Period. An-Award
may, however, be a fixed dollar amount and ihe amount of Awards may vary
according fo sich factors as are established periodically by the Committee.

_ Awards granted wili be credited to the Account as of the Award Date.

‘(b) Calculation of Amounts Payable for Awards Made Prior tco- . .

January 2803. There shall be computed, with respect to each Award, both the
cash amount and the Common Stock. Amount of such Award. lf, as of the

Payment Calculation Date, the then Fair Market Value.of the Common-Stock -

Amount is equal fo or greafer than the Minimum Value of the Cammon Stock -
Amount, you will receive the Common Stock.Amount in shares of Common
Stock: however, if such Fair Market Value of the Common Stock Amount as of |
such date is fess than such Minimum Value, you will receive such Minimum
Value in cash. if shares of Common Stock are unavailable far payment under
the Plan or if the Committee shall otherwise, in its sole discretion, so direct, the:
_ Fair Market Value of such shares as of the Payment Calculation Dafe will instead
be paid in cash. Fractional shares shall be paid in cash. Uclit receipt by you of
any share of Gormmen Stock hereunder, you will have no right, title, or interest in
"such share, including, without limitation, the right to receive dividends and {9 vote
any-shares. ,

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; {c]. Calculation of Arnounts Payable for Awards Made in January
2003 and Thereafter. Each award shali be converted info a Common Stock
‘Amount of such Award. When the award Is payable under the terms of the Plan,
you will recelve the Common Stock Amount in shares cf Common Stock.
Fractional shares shall be paid in cash. Until receipt by you of any share of
Common Steck hereunder, you will have no right, file, or terest in such share,
Gucluding, without limitation, the right to receive dividends and to vote any shares.

‘4. Shares Avatiabie Under the Plan.

. The total number of shares of. Commen Stock that may be issued under
the Plan shall be 104,000,000 subject to adjustment as provided in Section 14.
After January 1, 2009, no further awards will be made under the Plan.

- WV. STATUS OF THE AWARD
§. No Trust or Fund Created.

‘Neither the Plan nor any grant- made hereunder shall create or be
construed te create a trust or separate fund of any kind or a fiduciary refationship
between the Company and you or any other person. To the extent that any
person acquires: a tight to receive payments from the Company pursuant to a
grant under the Plan, such right shall be no greater than the sight of any .
unsecured general creditor of the Cornpany.

6. Nen-transferability. -

Your rights under the Plan, including the right to any amounts or shares

_payable, may not be assigned, pledged, or otherwise transfered except, in the

- event of your death, fo your designated beneficiary or, in the absence of such @
designation, by will or the laws of descent and distribution.

7. Relationship to Other Benefits,

_ No payment under the Plan shail be taken into account in determining any
benefits. under any pension, retirement, group insurance, or other employee
benefit plan of the Company. The Plan shai not preclude the stockholders of ML
& Co., the Board of Directors or any committee thereof, or the Cormpany from
authorizing or approving other employee benefit plans or forms: of incentive
compensation, nor shall it imit or prevent the continued operation of: other
incentive compensation plans or other employee benefit plans of the Company.
or the patticipation in any such plans by participants in the Plan.

¥. PAYMENT OF THE AWARD

8. In General.

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fa) Subject to the provisions of Sectlon 9 and all other requirements of
the Plan, the vested Account Balance with respect to an individual year's Award,
will vest and be paid ta you in a lump sum (in shares of Common Stock, or in
. cash, in the case of the Minimum Value, as determined under Section 3) as soon
as practicable (but In no event later than two and one-half months) following
January 1 of the tenth year following the Award Year, provided that, for Awerds
made in and after January 2003 for Performance Years 2002 and thereafter, you
will receive only the Common Stock Amount and such Common Stock Amount
will Vest and be pald te you as soon as practicable (but in no event later than two
and one-half months) following January 1 of the eighth year folowing the Award -
Year, and provided further that for Awards made in January 2001 and January
2002 ip Financial Advisors employed by International Private Client, such awards,
will, (i) in the case of Awards for the 2000 Performance Period, vest and be paid
to‘you as soon as practicable (but in no event later than two and one-half
months) following January 1 of the fifth year following the Award Year, and, (if) in
the case of Awards made for the 2001 Perfermance Period, vest and be paid fo
you as soon as practicable (but in no event jater than two and one-half months)
following January 1 of the seventh year following the Award Year.

_ {b} “Rule of 75” Distribution Election. You will meet the requirements for a
“Rule of 75" distribution if on or prior to December 31, 2008 you are (i) 65 years
of age or older and have completed 10 years or more of service; (ii) 60 years of
age or older and have completed 15 years or more of service: or (ii) 55 years of -
age or older and have completed 20 years or more of service. If you meet these
requirements, then, on or prior to December 31, 2008, you may make a one-time
election to accelerate the payment of up to 50% your Account Balance under the
Plan fo & specified-date in 2009 {in accordance with procedures determined by
the Head of Human Resources), subject to the terms and conditions of this
Section 8(b} and provided that (1) you sign a contract with the Company
agreeing not fo. compete in any way with the business of the Company following
your termination of employment and (2) that prlar to such payment, your Awards
‘are not cancelled because you are terminated for misconduct or join a retail
brokerage competitor of the Company. If you terminate your employment with:
the Company for Retirement prior to the date on which the Rule of 75 distribution
would have been made, your one-time election. will not be effective, and the
. regular vesting and distribution provisions of the Plan will apply. in addition, the .
regular vesting and distribution provisions of the .Plan will apply to fhe nan-’
accelerated portion of your Account Balance. This provision docs not apply to
awards made fo Financiat Advisors’ employed by International Private Client in
January 2001 and January 2002 and wil expire on December 31, 2008.

(c). Disqualification for Misconduct. Notwithstanding any other provision of
this Plan (except Section 9(d}, which in the event of a Change in Control shall
govern in the event of a conffict), , in the event of any allegation of any

_ misconduct on your part, including, but rot limited ta any violation of any law,
" regulation, or Campany policy, payment of the vested Account Balance will be

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delayed until the management of ‘the Company or its’ designee, upon
consultation with the General Counsel’s office, has, in “its sole discretion,
determined that either payment is appropriate under the circumstances, or that
your shall be disquatified from receiving the entire Account Balance. in ihe event
that the management of the Company determines that you are disqualified from
receiving the entire Account Balance, this disqualification shall be deemed
effective as of the date of the alleged misconduct

9. Termination of Employment.

: {a} Death. ff you die prior fo payment pursuant to Section 8, then your
Award{s) will be deemed to be 100% vested and the Account Balance will be
paid fo your beneficiary as scon as practicable. In such event, the “Payment
Calculation Date” will be deemed to be the first day of the month In which the
death occurred. . .

(b) Retirement; Employment by Competitor. Termination of your
employment (other than a tennination under the circumstances covered by-
_ Section 8 (c)} when you are eligible for Retirement shail have the following effect: -

(i) Awards for Performance Periods Prior to 1995. With
respect ta Awards granted prior te and for the 1994 Performance Period (i.¢., the
Performance Period ended December 30, 1994), your Award(s) will vest and he -
paid fo you as soon as practicable after your Retirement, in which case the
“Payment Calculation Date* will he deemed te be the first day of the month In
which the Retirement occurred. In addition, if you have entered into a formal
aecount fransitien plan with Advisory Division that dees not exceed one year and
transferred to an IA code for not more than one year irom Retirement, your
Awards will be vested and paid to you as soon as practicable after such transfer,
in Which case the "Payment Calculation Date will be deemed to be the fist day
of the month in which such transfer occurred.

, (ii) Awards for Performance Periods “Aiter 1994. With
respect fo Awards granted for Performance Periods after the 1994 Performance
Period, your Account Balance will vest and become payable In two installmenis,

_ the first 56% of the Account Balance will vest as of fhe end of the year in which
Retirement occurs {or, in the case of any Award granted after Retirement, as of -
the Award Date} and will be payable within 75 days following the end of such’
year, and the remaining Account Balance will vest as of the end of the year
following the year in which Retirement occurs (subject to paragraph 9{b)(iii)
below} and become payable within 75 days following the end of such year.

“(iii Employment by Competitor. Notwithstanding the

. foregoing, if, within two years of the date of your Retirement, or at any time after
such two-year period: if. amounts are still payable fo you as provided in
subsection (ii} above, you commence employment or become affiliated in any
way with a retail brokerage competitor of the Company or an Affiliate, you will be

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disqualified from receiving any remaining Account Balance and any amount paid
to you under this section shall be returned to the Company and all amounts that
have hot yet vested under this section shall cease to vest and no longer be -
payable.

fiv) Rule of 65. if your employment terminates (other than a-
termination under the circumstances covered by Section &{cjand you are eligible,
at the fime of such termination, for the Rule of 65, your Account Balance will
continue to be outstanding and to be paid out upon vesting in accordance with
Section 6, provided that you shall be immediately disqualified from receiving any
Account Balance, if you commence employment or become affiliated in any way
with a retail brokerage competitor of the Company or an Affiliate.

{¢} Other Termination of Your Employment. Termination of your
employment for any reason other than death or Retirement shai. have the
following effect

mth) Awards for Performance Periods Prior fo 1995. With
respect te Awards granted prior io and for the, 1994 Performance Period (Le., the
Performance Period ended December. 30, 1994}, you will receive only partial
payment of an Award based upon the percentage of such Award that has vesied © |
as of December 31st of the year prior to the year in which the termination occurs
-and the remainder of the Award shall be deemed forfeited, Vesting of your
Award(s} shall ocour as of the end of the day on December 3tsi of each year in
accordance with the following schedule: .

Percentage of Total Award

Year Vested at Year-End

Award Year - O%
Second Year ; o%
Third Year ‘ O%
Fourth Year : 0%
Fifth Year . 50%
Sodh Year. “60%
Seventh Year , 10%
Eighth Year 80%
Ninth Year - 90%

’ Fenth Year "100%.

- The vested amount will be paid to you in a jump sum as soon as practicable
following such termination. In addition, (A) the “Payment Calculation Date" wil
be deemed to bé the first day of the month in which such termination occurred
and (B) anything else in this Plan to the contrary notwithstanding, you wil receive
ne more than the Minimum Value with respect fo an Award.

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{if} Awards for Performance Periods After 1994S ubject to
paragraph 8(c}, with respect to Awards granted for Performance Periods after
4994, if your employment terminates cn or prior to the vesting date, for any
reason other fhan death, Retirement or qualification for the Rule of 65, you will
be immediately disqualified from receiving your Account Balance and such
award will cease to vest and be- cancelled, unless the Committee, in its sole
discretion, finds thai the circumstances in the particular case so warrant and
allows you to retain any partion or all of your Account Balance,

_” (iff) Disability, Leave of Absente or Transfer. Your
employment wif not be considered as terminated if you are on an approved
leave of absence, have inctured a Disability, er if you transfer or are transferred
but remain in the employ of the Company.

(a) Termination of Employment After a Change ins Control.

(i) Payment Upon Change in Control. Any other -
provision of this Plan to the contrary notwithstanding, in the event that a Change _
in Control of ML & Co. occurs and thereafter your employment is terminated by
the Company without Cause (as defined in Section S{d}v}, or by you for Good.
Reason fas defined in Section 9{d)(v¥i}, your Award(s) will be deemed to be 100%
vested and your entire Account Balance will be paid to you (or to your beneficiary
in the event of death) in cash in a lump sum, as prompily 4s possible after such _
termination of ermployment but, without limiting the foregoing, in no event later
than 45 days thereaiter, Your Common Stock Amount shall have a cash value

’ equal fo the highest of such Cornmon Stock Armount’s (A) Minimum Value on the
cate of your termination, (B} Fair Market Value on the date of your termination,
or (C) highest Fair Market Value for any day during the 90-day period ending on
ie date of the Change in Control, and, if such termination occurs before the
Payment Date, the "Payment Calculation Date" shall be deemed to be the date .
oh which such termination occurs, Payment shall be calculated according to
Section 3, fas modified by this subsection (e)), regardless of whether a
termination under this subsection (e} occurs on or before December 31 of the
ninth year following an Award Year.

(ii) Definition of "Change i in Control". A “Change in Cont rot"
means a change in controf of ML & Ca, of a nature that would be required to be .
reported in response to liem Gfe) of Schedule 144 of Regulation 144
promulgated under the Securities Exchange Acf of 1934, as amended (the .
“Exchange Act"), whether cr not ML & Co. is then subject fo such reporting
requirement proviced, however, that, without limitation, a Change in. Control
- shail be deerned to have occurred if-

(A}. any: individual, partnership, firm, corporation, association, bust
unincorporated organization or other entity, or any syndicate or group deemed to

be a person under Section 14{d)(2} of the Exchange Act, is or becomes the
“beneficial owner" (as defined in Rule 13d-3 of thé General Rules and

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Regulations under the Exchange Act), directly or indirectly, of securities of ML &
Co, representing 30% or more of the combined voting power of ML & Co.'s then
outstanding securities entitled to vote in the election of directors of ML & Co.; or

(8) during any period of two consecutive years Individuals who ai the
beginning of such period constituted the Board of Directors ci ML & Co. and any
new direcfors, whose election by the Beard of Directors or nomination for
election by the stockholders of ML & Co. was approved by a vote of at least 3/4

of the directors then still in office who either were directors at the beginning cf -

the period or whose election or nomination for election. was previously so
approved, cease for any reason to constitute at east a majority thereof, or

(C)  all'or substantially all of the assets of ML & Co. are liquidated or

disfributec.

{iii} Agreement Concerning a Change in Control. If ML & Co,
execules an agreement, the consummation of which would result in the
occuirence of the Change in Control as described in subparagraph (ii}, then, with

respect te a termination of employment, unless such fermination is by the’

Cempany for Cause, or by you other than for Good Reason, occurring after the
execution af such agreement (and; if such agreement expires or is terminated
prior to consummation, prior to such expiration or termination of such
agreement), a Change in Control shall be deemed to have accurred as of the
date of the execution. of such agreement.

{iv} Amendments Subsequent to Change in Control. In the
event of a Change in Control, ne changes in the Plan and no adjustments,
determinations or other exercises of discretion by the Committee or the Board of
Directors, that were made subsequent to the Change in Contro! and that would
have the effect of diminishing your-rights or payments under the Pian or this
Section 9{e), or of causing you to recognize income (for federal income tax
purposes) with respect to your Account Balance prior to the actual distribution in
cash to-you of such Account Balance, shail be effective. -

{v) " Cause. Termination of your employment by fhe Company
” for "Cause" shall mean termination upon:

(A} your willful and continued failure substantially to perform your
duties with the. Company (other than any such failure resulting from your
incapacity due to physical or mental illness or any such actual or anticipated
. failure resulting from termination by you for Good Reason) alter a written
demand for substantial performance is delivered to you by the Board of
Directors, which demand specifically identifies the manner. in which the Board of
.Directors believes that you have pot substantially performed your duties; or

{B) «the willful engaging by you in conduct which is demonstrably ‘and
materially injurious to the Company, monefarily or otherwise.

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No ast or failure to act by you shall be deemed "willful" unless done, or omitted to
be dene, by you net in good faith and without reasonable beliet that this action or
omission was in the best interest of the Company.

Notwithstanding the foregoing, you shall not be desmed to have been
ierminaied for Cause unless and until there shall have been delivered to you a

copy of a resolution duly adopted by the affirmative vote of not less than three -

quarters of the entire membership of the Board of Directors at a meeting of the
Board called and held for such purpose (after reasonable notice ia you and an
epportunity for you, tegeiher with counsel, to be heard before the Board of
Directors), finding that, in the good faith opinion of the Board of Directors, you
were guilty of conduct set forth above in clause (A) er (B) of the first sentence of
this Subsection and specifying the particulars thereof in deiail.

. (vi} “Good Reason” shail mean your termination of your
employment with fhe Company if, without your written | consent, any of the
following circumstances shail ocqur, ..

{A} a meaningful and detrimental alteration in your position ar in the
nature or status of your responsibilities from those in effect immediately prior fo
ihe Change f in Control

{(B} a reduction by the Company of your base salary as in effect just
prior to the Change in Control,

—€) the relocation of the offfee of the Company where you were
employed at the time of the Change in Control {ihe "CIC Location") to a location
more thar fifty miles away trom the CI€ Location, or the Company's requiling
you to be based more than fifty miles away from the CIC Location (except fer
required travel on the Company's business to.an extent substantially consistent
with your business travel obligations just prior to the Change in Control),

(D) the failure of the Company fo continue in effect any benefit or
compensation plan, including, but not fimifed fo, this Plan, the. Cornpany's
retirernent program, or the Company's Long-Term Incentive Compensation Pian,
Employee Stock Purchase Plan, 1978 Incentive Equity Purchase Plen, cash
incentive compensation or ofher plans adopted prior to the Change in Control, in
. which you are participating af the time of the Change in Control, unless an
equitable arrangement (embodied in an ongoing substitute or alternative plar}
has been made with respect to such plan in connection with the Change in
Controi, or the failure by the Company to continue your participation therein on at
least as favorable a basis, in terms of both the amount of benefits provided and
the level of your participation relative to other participants, as existed at the time
of the Change in Control; or

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(E) _ the failure of the Company to coniinue to provide you with benefits
at feast as favorable as those enjoyed by you under any of the Company's
pension, jife insurance, medical, health and accident, disability, deferred
compensation or savings plans in which you were participating at the time of the
Change in Controj, the taking of any action by the Company which would directly
or indirectly materially reduce any of such benefits or deprive you of any material
fringe benefit enjoyed by you at the fime of the Change In Control, or the failure
by the Company to provide you with the number of paid vacation days to which
you are entitied on the basis of years of service with the Company in accordance
with the Company's normal vacation policy in effect at ihe time of the Change in
Control. . .

{e) Special Rule for Key Employees. Notwithstanding any provision
of the Plan to the contrary, if any amount becomes payable hereunder with
respect to the termination of employment of a Participant who is then a Key
Eriployee, the payment of such amount shall not commence until the earlier of
{i} the date that is six months after the date of such termination of employment,
or (i) the date of such Participant’s death.

10. Withholding.

The Company shail have the right, before any payment is made or any shares
‘are delivered or credited to any account, to deduct or withhold from any payment .
under the Plan any Federal, state, or focal taxes, including transfer taxes,
required by law to be withheld or te require you or your beneficiary or estate, as
the case may be, fa pay any amount, or the balance of any amount, required to
be withheld, Upon the vesting of any Participant's Account Balance and prior fo
‘the payment of any Account Balance in shares of Common Stock, the Company
shail satisfy any. minimum Federal, state, Iocal, social security, Medicare or any
other tax withholding requirements that occur as a result the payment of such
Account Balance by. deducting from the number of whole shares of Common
Stock otherwise payable, such number of shares having a Fair Market Value, on
the Payment Date, equal lo the minknum tax required tobe withheid by the
. Company.

41, Arbitration.

Any claim or dispute conceming your individual rights or entitements under or
otherwise retating to this Plan shall be settled by arbRrafion befere efther the
American Arbitration Association AAA” or JAMS: (formerly the “Judicial
Arbitration and Mediation Services”) depending upori which of these forums you
chooss, in accordance with the Cemmercial Dispute Resolutions Procedures of

_ the AAA or the Comprehensive Arbitration Rules and Procedures of JAMS,
provided hewever, that (1) the arbitrator shalt be require fo adhere to
established principles Of substantive law and the governing burdens of proof, {2} -
the arbitrator shail be prohibited for disregarding, adding to or modifying the

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terms of the Plan; (3) the arbitrator shall be an atforney licensed to practice law
who is experienced in similar matters; and (4) more than one employee or former
employee may consolidate their claims and join in the same arbitration
proceeding only with the consent of all the parties to the proceeding. No claimor -
dispute conceming rights or entitlernents under or otherwise relating to the Plan
may be brought er litigated in a ciass action. The awanl rendered in this
arbitration shail be final and binding, and judgment upon the award may be
entered in any court of competent jurisdiction.

12. Designation of Beneficiary.

{a} Designation of Beneficiary and Alternate Beneficiary. You may
‘designate, in a writing delivered to ML & Co, before your death, a beneficiary to
_ Teceive payments in the event of your death, You may also designate an
altemate beneficiary to receive payments # the primary beneficiary does not
survive you. You may designate more than one person as your beneficiary or
alternate benefjciary, in which case such. persons would receive payments as
joint tenants with a right of survivorship: as fo the amounts not yet paid from your
Account. if youdie without @ surviving penehiciary, then your estate wih be
considered your beneficiary.

_{b) Change in Beneficiary. * You may change’ your beneficiary or

alternate beneficiary (without the consent of any prior beneficiary) in a writing

_ delivered to ML & Co. before your death. Unless you stale otherwise in writing,

any change in beneficiary or alternate beneficiary will automatically revoke prior

designations only of your beneficiary or only of your altemate beneficiary, as the

case may be, under this Plan only; designations under other Plans will remain
unaffected. .

(c) ‘In the Event of Death of the Beneficiary Buring Payment. If a
beneficiary who is receiving payments hereunder dies before all of the payments
have been made and if there is no surviving joint tenant, the Account Balance
will be paid as scon as practicable in cne lump sum fo such beneficiary's estate
and notfo any alternate beneficiary you may have designated.

Vi. “ADMINISTRATION OF THE PLAN’
1 3. "Powers of the Committee.

The Committee fas full. pawer and authority to interpret, construe, ‘and
administer the Plan and to adopt, amend, and rescind such tules and regulations
as, in its opinion, may be advisable for the administration of the Plan. The
Committee's interpretations and construction hereof, and actions hereunder,
including any determinations regarding the amount or recipient of any payments
and whether any emount of Common Stock’ payable hereunder will instead be
paid in the equivalent amount of cash, will be binding.and conclusive on all

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persons for all purposes, The Committee wilt not be fable to ény person for any
action taken or omiited in connection with the Inferpretation and administration of
ihis Pian unless attributable to its willful misconduct or lack of good faith.

Vil, MISCELLANEOUS PROVISIONS
14. Changes in Capitatization.

- Any other provision of the Plan fo the contrary notwithstanding (except
_for Section 9(d}, which shall control in the event of a change in control}, if any
change shail cecur in or affect Common Stock on account of a merger,
consolidation, reorganization, stock dividend, stock split or combination,
reclassification, recapitalization, or distribution to holders of Common Stock
(other than cash dividends) then, without any action by the Committee,
appropriaie adjusiments shail be made to (71} the maximum number of shares of
Common Stock and Rights subject to and reserved unger the Plan, and (2) the
‘number of shares subject fo or reserved for issuance under. outstanding Awards.
- In addition, if in the opinion of the Board of Directors of ML. & Co, (the "Board of
Directors"}, after consultation with ML & Co.'s independent public accountants,
_changes in ML & Co’s accounting policies, acquisitions, divestitures, |
distributions, or other unusual or extraordinary items have disproportionately and
materially affected the value of Common Stock, the Board of Directors shall
make such adjustments, if any, that it may deem necessary or equitable, in its
sole discretion, in order to preserve the benefit of this Plan for ML & Co, and its
employees and stockholders, in the number of shares subject to or reserved for
issuance under this Plan and in the method of calculating Appreciation.

15. Tax Litigation. ©

The Company shail have the right te contest, at its expensé, any tax ruting
or decision, administrative or judicial, on any issue that is related to the Plan and ~
. that the Company believes to be important to participants in the Plan and to
conduct any such contest or any litigation arising therefrom to a final decision,

16. Employment Rights.

Neither the Plan bor any action taken hereunder shall be construed as
giving any employee of the Company the right to become a participant, and a
grant under the Plan shall not be construed as giving any participant any right to -
be retained in ihe employ of the Company. mt -

17. Amendment of the Plan. .
The Board of Directors or the Committee (out no other committee of the

Deard of Directors) may modify, amend or terminate the.Plan at any time. No
_ Such modification, amendment. or termination wil, without your consent,

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adversely affect your rights in relation fo an Award after it has been granted to
you. ;

18 . Governing Law; Section 409A.

Fhis Plan will be construed in accordance with and governed by the laws
of the State of New York as fo all matters, including, hut not fimited to, matters of
validity, construction, and performance. Nefwithstanding any provision of this -
Ptan to the contrary, no election, ime or form of payment, modification or other
action with respect fo the Plan shail be permitted to the extent that such election,
ime or form of payment, modfficaticn or other action would violate any
requirement of Section 409A of the Code ar the regulations thereunder

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